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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
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  ATTORNEYS FOR DEBTOR

  In re:                                                               Chapter 11

  LTL MANAGEMENT LLC,                                                  Case No. 21-30589 (MBK)

                             Debtor. 1                                 Judge: Michael B. Kaplan

  AYLSTOCK, WITKIN, KREIS & OVERHOLTZ,
  PLLC,
                             Appellants,
                   v.                                                  Case No. 22-cv-1280-FLW
  LTL MANAGEMENT LLC,
                              Appellee.




 1
           The last four digits of the Debtor's taxpayer identification number are 6622. The Debtor's address is 501
           George Street, New Brunswick, New Jersey 08933.
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     DEBTOR’S DESIGNATION OF ADDITIONAL ITEMS TO BE INCLUDED IN THE
                           RECORD ON APPEAL

        LTL Management LLC, debtor in the above-captioned case and appellee, pursuant to

 Rule 8009 of the Federal Rules of Bankruptcy Procedures, hereby submits its designation of

 additional items to be included in the record on appeal, in addition to those designations

 submitted by Aylstock, Witkin, Kreis & Overholtz, PLLC (“Aylstock”) in its Statement of

 Issues, Designation of Items to be Included in the Record on Appeal, and Certificate Regarding

 Transcripts (Dkt. 1801), in connection with Aylstock’s appeal to the United States Bankruptcy

 Court for the District of New Jersey from (1) the March 2, 2022 Order Denying Motions to

 Dismiss (“MTD Order”) (Dkt. 1603) 2 and the related February 25, 2022 Memorandum Opinion

 (“MTD Opinion”) (Dkt. 1572), collectively “MTD Opinion and Order”, and (2) the March 7,

 2022 Order (I) Declaring that Automatic Stay Applies to Certain Actions Against Non-Debtors

 and (II) Preliminarily Enjoining Certain Actions (“Stay Order”) (Dkt. 1635) and the related

 February 25, 2022 Memorandum Opinion (“Stay Opinion”) (Dkt. 184, Adv. Pro. No. 21-03032-

 MBK), collectively “Stay Order and Opinion”) (hereinafter “Aylstock Appeals”).

                                                Background

        1.      On March 25, 2022, Arnold & Itkin LLP filed Appellant’s Statement of the Issues

 to be Presented on Appeal and Designation of the Record on Appeal (Dkt. 1856, Case No. 12 22-

 cv-1387-FLW), designating items to be included in the record on appeal in connection with its




 2
        “Dkt.” shall refer to entries in the Main Case docket (21-30589-MBK) and “Dkt. [_], Adv. Pro. No. 21-
        03032-MBK” shall refer to entries in the adversary proceeding.
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 appeal to the United States Bankruptcy Court for the District of New Jersey from the MTD Order

 based on the MTD Opinion (hereinafter “Arnold & Itkin Appeal”).

        2.       On March 23, 2022, the Official Committee of Talc Claimants I (“TCC I”) filed

 Appellant TCC I’s Statement of Issues on Appeal and Designations of Items to be Included in the

 Record on Appeal as to MTD Opinion and Order (Dkt. 1832, Dkt. 1833, Case Nos. 22-cv-1339-

 FLW, 22-cv-1350-FLW, and 22-cv-1620-FLW) and Appellant TCC I’s Statement of Issues on

 Appeal and Designation of Items to be Included in the Record on Appeal as to Stay Opinion and

 Order (Dkt. 1833, Dkt. 1833, Case Nos. 22-cv-1339-FLW, 22-cv-1350-FLW, and 22-cv-1620-

 FLW), both designating items to be included in the record on appeal in connection with its

 appeal to the United States Bankruptcy Court for the District of New Jersey from the MTD

 Opinion and Order and the Stay Opinion and Order (hereinafter “TCC I Appeals”).

        3.       On March 21, 2022, the Official Committee of Talc Claimants II (“TCC II”) filed

 Appellants’ Statement of Issues to be Presented on Appeal (Dkt. 1805) and Appellants’

 Designation of Items to be Included in the Record on Appeal (Dkt. 1804, Case Nos. 22-cv-

 01289-FLW, 22-cv-1296-FLW, and 22-cv-01303-FLW), the latter designating items to be

 included in the record on appeal in connection with its appeal to the United States Bankruptcy

 Court for the District of New Jersey from the MTD Order and the Stay Order (hereinafter “TCC

 II Appeals”).

        4.       On March 21, 2022, Aylstock filed Statement of Issues, Designation of Items to be

 Included in the Record on Appeal, and Certificate Regarding Transcripts (Dkt. 1801, Case Nos.
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 22-cv-1280-FLW and 22-cv-1292-FLW), designating items to be included in the record on

 appeal in connection with the Aylstock Appeals.

                                       Additional Items

        5.     In the Aylstock Appeals, LTL Management LLC hereby designates all items

 designated by Arnold & Itkin in the Arnold & Itkin Appeal, by TCC I in the TCC I Appeals,

 and/or by TCC II in the TCC II Appeals, but not designated by Aylstock in the Aylstock

 Appeals.
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  Dated: April 4, 2022                          WOLLMUTH MAHER & DEUTSCH LLP

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